                         CASE 0:18-cr-00090-RWP-HCA Doc. 174 Filed 03/01/19 Page 1 of 7
AO 245B (Rev. 02/18) Judgment in a Criminal Case
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                                                         DISTRICT OF MINNESOTA

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                                   Y
                         Robert Philip Ivers                                         &DVH1XPEHU 0:18-CR-00090-001
                                                                                     8601XPEHU 17035-059

                                                                                      Daniel M. Scott
                                                                                     'HIHQGDQW¶V$WWRUQH\
7+('()(1'$17
* SOHDGHGJXLOW\WRFRXQW V
* SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
✔ZDVIRXQGJXLOW\RQFRXQW V
*                                       Counts One and Two of the Superseding Indictment filed on August 21, 2018.
     DIWHUDSOHDRIQRWJXLOW\

The defendant is adjudicated guilty of these offenses:

7LWOH 6HFWLRQ                    1DWXUHRI2IIHQVH                                                                         2IIHQVH(QGHG                           &RXQW

 18 U.S.C. § 115(a)(1)(B)           Threatening to Murder a Federal Judge                                                       02/27/2018                            One



 18 U.S.C. § 875(c)                 Interstate Transmission of a Threat to Injure the Person of                                 02/27/2018                            Two

                                    Another


     6HH DGGLWLRQDO FRXQW V RQ SDJH 


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7             RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWRWKH
6HQWHQFLQJ5HIRUP$FWRI
* 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
* &RXQW V                                                * LV      * DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHV$WWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPH UHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQ FRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\ WKLVMXGJPHQWDUHIXOO\SDLG ,IRUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV
                                                                          March 1, 2019
                                                                           'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                           Signature of Judge


                                                                           Robert W. Pratt, Senior U.S. District Court Judge
                                                                           1DPHRI-XGJH7LWOHRI-XGJH


                                                                           March 1, 2019
                                                                           'DWH
                        CASE 0:18-cr-00090-RWP-HCA Doc. 174 Filed 03/01/19 Page 2 of 7
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 '()(1'$17 Robert Philip Ivers
 &$6(180%(5 0:18-CR-00090-001


                                                            IMPRISONMENT

          7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
 WRWDOWHUPRI
  18 months as to each of Counts One and Two of the Superseding Indictment filed on August 21, 2018, both counts to be
  served concurrently.



     ✔
     *    7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV

  The defendant be placed in a facility as close to the State of Minnesota as possible.



     ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
     *

     * 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          * DW                                     * DP      * SP        RQ

          * DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

     * 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          * EHIRUHRQ
          * DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          * DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                  RETURN
 ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                         WR

 D                                                  ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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AO 245B (Rev. 02/18) Judgment in a Criminal Case
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'()(1'$17 Robert Philip Ivers
&$6(180%(5 0:18-CR-00090-001
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8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
Three years as to each of Counts One and Two of the Superseding Indictment filed on August 21, 2018, both counts to be
served concurrently.




                                                       MANDATORY CONDITIONS
     <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
     <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH
     <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
       LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
               G✔ 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
                   SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH(check if applicable)
      G <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
            UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
       ✔<RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
        G
      G <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq
        DV GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFK\RXUHVLGHZRUN
            DUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
      G <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)

 <RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHG
 SDJH
                        CASE 0:18-cr-00090-RWP-HCA Doc. 174 Filed 03/01/19 Page 4 of 7
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                                       STANDARD CONDITIONS OF SUPERVISION
 $VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
 EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
 RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ

     <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
       UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
       IUDPH
     $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQG
       ZKHQ\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
     <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
       FRXUWRUWKHSUREDWLRQRIILFHU
     <RXPXVWDQVZHUWUXWKIXOO\WKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
     <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
       DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
       WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
       KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
     <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
       WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
     <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
       GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
       \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
       UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
       GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
       EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
     <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
       FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
       SUREDWLRQRIILFHU
     ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
    <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
       GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
    <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
       ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
    ,IWKHSUREDWLRQRIILFHUGHWHUPLQHVWKDW\RXSRVHDULVNWRDQRWKHUSHUVRQ LQFOXGLQJDQRUJDQL]DWLRQ WKHSUREDWLRQRIILFHUPD\
       UHTXLUH\RXWRQRWLI\WKHSHUVRQDERXWWKHULVNDQG\RXPXVWFRPSO\ZLWKWKDWLQVWUXFWLRQ7KHSUREDWLRQRIILFHUPD\FRQWDFWWKH
       SHUVRQDQGFRQILUPWKDW\RXKDYHQRWLILHGWKHSHUVRQDERXWWKHULVN
    <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ



 U.S. Probation Office Use Only
 $86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
 MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHH2YHUYLHZRI3UREDWLRQDQG6XSHUYLVHG
 5HOHDVH&RQGLWLRQVDYDLODEOHDWZZZXVFRXUWVJRY

 'HIHQGDQW V6LJQDWXUH                                                                                    'DWH
                        CASE 0:18-cr-00090-RWP-HCA Doc. 174 Filed 03/01/19 Page 5 of 7
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'()(1'$17 Robert Philip Ivers
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  The defendant shall properly execute the requisite release of information forms necessary to facilitate the
  psychological/psychiatric counseling or treatment programs ordered by the Court.

  The defendant shall participate in a psychological/psychiatric counseling or treatment program, which may include an
  anger management program, as approved by the U.S. Probation Officer. Further, the defendant shall contribute to the
  costs of such treatment as determined by the U.S. Probation Office Co-Payment Program not to exceed the total cost of
  treatment.

  The defendant shall have no contact with the victim (including letters, communication devices, audio, or visual devices,
  visits, or any contact through a third party) without prior consent of the U.S. Probation Officer. The defendant is prohibited
  from entering the Warren E. Burger Federal Building & U.S. Courthouse located at 316 North Robert Street, 100 Federal
  Building, St. Paul, MN 55101, without prior consent of the U.S. Probation Officer.

  The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a search
  conducted by a U.S. Probation Officer or supervised designee, at a reasonable time and in a reasonable manner, based
  upon reasonable suspicion of contraband or evidence of a supervision violation. The defendant shall warn any other
  residents or third parties that the premises and areas under the defendant's control may be subject to searches pursuant
  to this condition.

  If not employed at a regular lawful occupation, as deemed appropriate by the U.S. Probation Officer, the defendant may be
  required to perform up to 20 hours of community service per week until employed. The defendant must also participate in
  training, counseling, daily job search, or other employment-related activities, as directed by the U.S. Probation Officer.

  For the purpose of verifying compliance with any Court imposed condition of supervision, the defendant shall be placed on
  a program of Stand-Alone Monitoring for a period of three years, in which he will be monitored by location monitoring with
  GPS technology, without a specified schedule, as directed by the U.S. Probation Officer. The defendant shall be required
  to pay all or part of the costs of location monitoring based on his ability to pay as determined by the U.S. Probation Office.
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7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

 * 3XUVXDQWWR86&XSRQWKHPRWLRQRIWKHJRYHUQPHQWWKH&RXUWKHUHE\UHPLWVWKHGHIHQGDQW V6SHFLDO3HQDOW\
    $VVHVVPHQWWKHIHHLVZDLYHGDQGQRSD\PHQWLVUHTXLUHG
                  $VVHVVPHQW               JVTA Assessment *                      )LQH                      5HVWLWXWLRQ
 727$/6       200.00                    $ 0.00                                  0.00                      $0.00

 * 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                   $Q$PHQGHG-XGJPHQWLQD&ULPLQDO&DVH $2& ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ
 * 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

 1DPHRI3D\HH                                                     7RWDO/RVV               5HVWLWXWLRQ2UGHUHG     3ULRULW\RU3HUFHQWDJH




727$/6                                                                              $0.00                   $0.00


*     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

*     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

*     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      * WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH            * ILQH   * UHVWLWXWLRQ
      * WKHLQWHUHVWUHTXLUHPHQWIRUWKH         * ILQH       * UHVWLWXWLRQLVPRGLILHGDVIROORZV


  -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
   )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
DIWHU6HSWHPEHUEXWEHIRUH$SULO
                         CASE 0:18-cr-00090-RWP-HCA Doc. 174 Filed 03/01/19 Page 7 of 7
AO 245B (Rev. 02/18) Judgment in a Criminal Case
v1                  6KHHW²6FKHGXOHRI3D\PHQWV

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+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

$     ✔ /XPSVXPSD\PHQWRI 200.00
      *                                                          GXHLPPHGLDWHO\EDODQFHGXH

            * QRWODWHUWKDQ                                          RU
            ✔ LQDFFRUGDQFH
            *                             * &           * '    *      (RU     ✔ )EHORZRU
                                                                                  *
%     * 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     * &       * 'RU      * )EHORZ RU
&     * 3D\PHQWLQHTXDO                              HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                             HJPRQWKVRU\HDUV WRFRPPHQFH                       HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

'     * 3D\PHQWLQHTXDO                              HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                             HJPRQWKVRU\HDUV WRFRPPHQFH                       HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
            WHUPRIVXSHUYLVLRQRU

(     * 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                      HJRUGD\V DIWHUUHOHDVHIURP
            LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

)     ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      *
             All criminal monetary payments are to be made to the Clerk, U.S. District Court. 6HQGWR86'LVWULFW&RXUW6WK6WUHHW
                                                                                               6XLWH0LQQHDSROLV01
             While on supervised release, you shall cooperate with the Probation Officer in developing a monthly payment plan
             consistent with a schedule of allowable expenses provided by the Probation Office.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
WKHSHULRGRILPSULVRQPHQW$OOFULPQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH
)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



* -RLQWDQG6HYHUDO
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU 7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




* 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
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* 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO  ILQH
LQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQWDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
